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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

       FARVA JAFRI                                    )
                                                      )
                      Plaintiff,                      )
                                                      )
                                                      )
                      v.                              )
                                                      )
                                                      )
       JOHN C. GEKAS and                              )
       SAUL EWING ARNSTEIN & LEHR                     )
       LLP                                            )
                  Defendants.                         )

                                          COMPLAINT

       Plaintiff, Farva Jafri, by her attorney, Leroy U. Ekechukwu complains of the Defendants,

John C. Gekas and Saul Ewing Arnstein & Lehr, LLP as follows:

                                           The Parties

1. Plaintiff, FARVA JAFRI, is a citizen of the State of New York.

2. Defendant, JOHN C. GEKAS, is a partner at co-Defendant Saul Ewing Arnstein & Lehr,

   LLP. At all times material, hereto, Defendant Gekas also has continued to collect legal fees

   from Gekas Law LLP, a firm in which he partners with his father, Constantine John Gekas,

   an attorney. Defendant Gekas is a citizen of the state of Illinois.

3. Defendant, SAUL EWING ARNSTEIN & LEHR, LLP, is a limited liability partnership

   organized under the laws of Delaware and authorized to practice law, with its headquarters in

   Philadelphia and an office in Chicago, Illinois.
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                                                  COUNT I
                                              (Legal Malpractice)

4. This is an action for damages for legal malpractice based on Defendants’ violations of

   Illinois Rules of Professional Conduct 1.7, 1.9, and 1.10.

5. John C. Gekas (hereinafter “Defendant Gekas”) represented Plaintiff and Plaintiff’s former

   employer, Signal Funding LLC, in the defense of an action brought against them in the

   Circuit Court of Cook County, Illinois (Case No. 16 CH 13882) by Oasis Legal Finance

   Operating Company, LLC, from May 2017 until December 4, 2017, when, at Defendant

   Gekas’ invitation, Plaintiff terminated the representation. Plaintiff terminated Defendant

   Gekas for a conflict of interest in which he placed the interests of Plaintiff’s co-defendant

   and former employer, Signal Funding LLC, above the interests of Plaintiff.

6. In late May 2017, Plaintiff requested an engagement letter from Defendant Gekas. Despite

   Plaintiff’s written request for terms of retaining Defendants Saul Ewing Arnstein & Lehr,

   LLP and Gekas, Defendant Gekas failed to provide an engagement letter to Plaintiff; he also

   failed to provide a conflict disclosure.

7. As of May 2017 when Defendant Gekas commenced representation of Plaintiff, he was a

   partner at Arnstein & Lehr LLP (now known as Defendant “Saul Ewing Arnstein & Lehr,

   LLP”).    On information and belief, Defendant Gekas is still employed as a partner at

   Defendant Saul Ewing Arnstein & Lehr, LLP (“Saul Ewing”).

8. On December 1, 2017, while still representing Plaintiff, Defendant Gekas referred a lawsuit

   Signal Funding LLC was planning to bring against Plaintiff to his father, Chicago attorney

   Constantine John Gekas.

9. On December 7, 2017, three days after Defendant Gekas withdrew from representing

   Plaintiff, his father, Constantine Gekas, served Plaintiff with a complaint and summons on
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   behalf of entities Signal Funding LLC and Signal Financial Holdings LLC, filed in the

   United States District Court for the Northern District of Illinois, Signal Financial Holdings

   LLC, and Signal Funding LLC v. Looking Glass Financial LLC, and Farva Jafri, Case No.

   17 C 8816 (“the federal action”). The federal action has been pending and active ever since.

10. As of the date that attorney Constantine Gekas sued Jafri, Defendant Gekas and his father,

   Constantine Gekas were partners in a law firm entity, Gekas Law LLP.


11. This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a).       The amount in

   controversy is over $75,000.

12. This Court is the proper venue pursuant to 28 U.S.C. § 1391.


13. On December 18, 2017, Plaintiff filed a motion to disqualify Plaintiffs’ counsel, Constantine

   Gekas, from representing Plaintiffs in the federal action (Document No. 22), the very first

   motion brought by Defendants, based on Defendant Gekas’ and Constantine Gekas’

   violations of the Illinois Rules of Professional Conduct 1.9 and 1.10.

14. In his response to the motion for disqualification, Constantine Gekas admitted that, on

   December 1, 2017, Defendant Gekas, while still representing Plaintiff, referred Signal

   Financial Holdings and Signal Funding’s lawsuit against Plaintiff to his father and law firm

   partner, Constantine Gekas.

15. Defendant Gekas’ referral and the subsequent lawsuit against Plaintiff helmed by

   Constantine Gekas has resulted in substantial pecuniary harm to Plaintiff.

16. During the course of Defendant Gekas’ defense of Plaintiff in the Oasis state court action,

   Plaintiff disclosed to him unreservedly Plaintiff’s work at Signal Funding, and use of

   template documents from Oasis, which Oasis alleged constitute Oasis trade secrets.
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17. Defendant Gekas and Plaintiff had an attorney-client relationship that established a fiduciary

   duty on the part of Defendant Gekas to Jafri to act in her best interests with undivided loyalty

   and to maintain her confidences and secrets, among his other duties.

18. Defendant Gekas violated that duty in a number of ways: 1) by not having Plaintiff’s best

   interests at heart in settlement negotiations between her and Oasis and encouraging her to

   sign an agreement that would be detrimental to her business and personal interests; 2) by

   referring a suit against Plaintiff to his father, Constantine Gekas, who for all intents and

   purposes also practiced law alongside him under the moniker Gekas Law LLP. Constantine

   Gekas is presumed by law to have received confidential, attorney-client privileged

   information about Plaintiff Jafri through his professional, business and familial relationship

   with Defendant Gekas.

19. The federal action that Constantine Gekas has filed and prosecuted for Signal Financial

   Holdings and Signal Funding against Plaintiff, with Plaintiff’s confidential knowledge and

   information presumptively received from Defendant Gekas, has caused Plaintiff significant

   financial damage.

20. Defendant Gekas’ misconduct and wrongdoing contrary to his former client’s interest has

   damaged Plaintiff in an amount in excess of $75,000.

WHEREFORE, Plaintiff, FARVA JAFRI, prays this Honorable Court grant the following relief:

   A. For actual damages in a sum in excess of the jurisdiction of this Court according to proof;

   B. For interest as allowed by law;

   C. For costs of the suit incurred herein; and

   D. For such other and further relief as the Court deems just and proper.
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                                                  FARVA JAFRI

                                                  By:__________________________
                                                    One of Her Attorneys
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